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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                    GREENVILLE DIVISION

JAMES CURRY, JR.                                                                                      PLAINTIFF

V.                                                            CIVIL ACTION NO. 4:20-CV-00125-SA-RP

MDOC                                                                                                DEFENDANT

                                              FINAL JUDGMENT

         Having considered the file and records in this cause, including the Report and

Recommendation of the United States Magistrate Judge and the Objections to the Report and

Recommendation, the Court finds that the plaintiff’s objections are without merit,1 and that the

Magistrate Judge’s Report and Recommendation should be approved and adopted as the opinion

of the Court. It is, therefore, ORDERED:

         (1) That the plaintiff’s objections to the Magistrate Judge’s Report and Recommendation
             are OVERRULED;

         (2) That the Report and Recommendation of the United States Magistrate Judge is hereby
             APPROVED AND ADOPTED as the opinion of the Court;

         (3) That the instant case is DISMISSED WITH PREJUDICE for failure to state a claim
             upon which relief could be granted; and

         (4) That this case is CLOSED.

         This, the 12th day of May, 2021.

                                                      /s/ Sharion Aycock
                                                      UNITED STATES DISTRICT JUDGE




1
 Although Plaintiff refers to his filing as objections, he merely repeats his allegations from his complaint and Spears
hearing rather than objecting to any specific finding from the Report and Recommendation. See Doc. # 19.
